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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
BENSON GITHIEYA, et al.,
Plaintiffs,
Vv. CIVIL ACTION NO:
1:15-CV-00986-AT
GLOBAL TEL LINK CORP.,
Defendant.

 

 

PROPOSED ORDER GRANTING PLAINTIFFS’ CONSENT MOTION
FOR LEAVE TO FILE BRIEF IN EXCESS OF PAGE LIMITATIONS

Plaintiffs have filed a motion for leave to file a Motion for Preliminary
Approval of Class-Action Settlement that exceeds the page limitations set forth in
Rule 7.1(D) of the Local Rules of the United States District Court for the Northern
District of Georgia. Defendant has consented to this request.

Upon review of Plaintiffs’ motion and for good cause shown, the Court
GRANTS the motion and ORDERS that Plaintiffs are permitted to file a Motion
for Preliminary Approval of Class Action Settlement that shall not exceed 40 pages

in length.
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IT IS SO ORDERED this 30th day of November , 2021.

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AMY TOZENBERG
UNITED STATES DISTRICT JUDGE
